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    1   MARC M. SELTZER (54534)
        mseltzer@susmangodfrey.com
    2   SUSMAN GODFREY L.L.P.
        1900 Avenue of the Stars, Suite 1400
    3   Los Angeles, CA 90067-6029
        Tel: (310) 789-3100/Fax: (310) 789-3150
    4
        SCOTT MARTIN
    5   smartin@hausfeld.com
        IRVING SCHER
    6   ischer@hausfeld.com
        HAUSFELD LLP
    7   33 Whitehall Street, 14th Floor
        New York, NY 10004
    8   Tel: (646) 357-1100/ Fax: (212) 202-4322
    9   HOWARD LANGER
        hlanger@langergrogan.com
   10   EDWARD DIVER
        ndiver@langergrogan.com
   11   PETER LECKMAN
        pleckman@langergrogan.com
   12   LANGER GROGAN AND DIVER PC
        1717 Arch Street, Suite 4130
   13   Philadelphia, PA 19103
        Tel: (215) 320-5660/ Fax: (215) 320-5703
   14
        [Additional Counsel listed in Signature Page]
   15
        Plaintiffs’ Interim Co-Lead Class Counsel
   16

   17                       UNITED STATES DISTRICT COURT
   18                      CENTRAL DISTRICT OF CALIFORNIA
   19

   20
        IN RE: NATIONAL FOOTBALL                    CASE NO.: 2:15-ml-02668−PSG
   21   LEAGUE’S “SUNDAY TICKET”
        ANTITRUST LITIGATION                        (JEMx)
   22
                                                    Judge: Hon. Philip S. Gutierrez
   23

   24   THIS DOCUMENT RELATES TO ALL                STIPULATED SUPPLEMENTAL
        ACTIONS                                     PROTECTIVE ORDER
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    1           The parties hereby stipulate to and petition the Court to enter the following
    2   Stipulated Supplemental Protective Order (the “Non-Party Order”). The parties
    3   agree that the Non-Party Order is in supplement to the Stipulated Protective Order
    4   (the “Protective Order”) entered by the Court on October 4, 2016 (Dkt. 197), and
    5   should not be interpreted to in any way alter the provisions set forth in the
    6   Protective Order except as expressly set forth herein.
    7           1.      This Protective Order shall be applicable to and govern all depositions
    8   taken and all documents produced in response to subpoena, and all other discovery
    9   taken pursuant to the Federal Rules of Civil Procedure, and other information
   10   hereafter furnished, directly or indirectly, by or on behalf of any non-party in
   11   connection with this action which a non-party designates as “HIGHLY
   12   CONFIDENTIAL/COMMERCIALLY SENSITIVE.” The designation “HIGHLY
   13   CONFIDENTIAL/COMMERCIALLY SENSITIVE” shall only apply to carriage
   14   rate information, sensitive material implicated in the negotiation and execution of
   15   affiliation agreements, and sensitive material implicated in the negotiation and
   16   execution of licensing agreements with the NFL. The terms “CONFIDENTIAL”
   17   and “HIGHLY CONFIDENTIAL” will continue to have the same meanings as that
   18   which is given to them in the Protective Order.
   19           2.      All provisions governing “Protected Information” in the Protective
   20   Order        shall   apply    to    any   document       designated   as    “HIGHLY
   21   CONFIDENTIAL/COMMERCIALLY SENSITIVE” by a non-party, except as
   22   otherwise modified by this Non-Party Order.
   23           3.      Unless otherwise ordered by the Court or permitted in writing by the
   24   designating non-party, the parties may disclose any information or item designated
   25   “HIGHLY CONFIDENTIAL/COMMERCIALLY SENSITIVE” by a non-party
   26   only to persons described in Paragraph 7.3 of the Protective Order with the
   27   following additional limitations:
   28                   a.    Regarding outside counsel described in Paragraph 7.2(a) of the



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    1   Protective Order, the parties may not disclose any information or items designated
    2   “HIGHLY CONFIDENTIAL/COMMERCIALLY SENSITIVE” by a non-party to
    3   any outside counsel in this litigation who has any responsibility for advising any
    4   person regarding the negotiation or execution of affiliation agreements or licensing
    5   agreements with the NFL, or to such outside counsel’s staff and supporting
    6   personnel of such attorneys, such as paralegals, secretaries, stenographic and
    7   clerical employees and contractors, who are working on this litigation under the
    8   direction of such attorneys.
    9                b.      Regarding testifying or consulting experts of the Receiving
   10   Party described in Paragraph 7.2(c) of the Protective Order, the parties may not
   11   disclose any information or items designated “HIGHLY CONFIDENTIAL/
   12   COMMERCIALLY SENSITIVE” by a non-party to any outside consultant or
   13   retained expert who has any responsibility for negotiating or advising any person
   14   with respect to the negotiation of affiliation agreements or licensing agreements
   15   with the NFL. Any outside consultant or expert who receives any information or
   16   items   designated     as      “HIGHLY    CONFIDENTIAL/          COMMERCIALLY
   17   SENSITIVE” will not negotiate or advise any person with respect to the negotiation
   18   of affiliation agreements or licensing agreements with the NFL for a period of two
   19   years following the initial conclusion of this action in the district court. This
   20   paragraph in no way limits or precludes any outside consultant or retained expert
   21   from providing services during, or in anticipation of, litigation, arbitration, or any
   22   other forms of dispute resolution relating to affiliation agreements or licensing
   23   agreements with the NFL. Before disclosing any of the material, documents, or
   24   information covered by this Order to any such outside consultant or expert, counsel
   25   for the party retaining that outside consultant or expert shall ensure each outside
   26   consultant or expert so retained or employed is willing to commit to the obligations
   27   set forth herein, and obtain confirmation of such from each outside consultant or
   28   expert in writing.



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    1               c.    For each person set forth in Paragraphs 7.2 and 7.3 of the
    2   Protective Order who must execute the Protective Order’s Acknowledgment and
    3   Agreement to Be Bound, counsel for a Receiving Party shall further provide a copy
    4   of this Non-Party Order.
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    1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
    2   Dated: November 16, 2021
    3   s/Marc M. Seltzer
        MARC M. SELTZER
    4   SUSMAN GODFREY L.L.P.

    5   SCOTT MARTIN
        IRVING SCHER
    6   HAUSFELD LLP

    7   HOWARD LANGER
        EDWARD DIVER
    8   PETER LECKMAN
        LANGER GROGAN AND DIVER PC
    9
        ARUN SUBRAMANIAN
   10   asubramanian@susmangodfrey.com
        WILLIAM CHRISTOPHER CARMODY
   11   bcarmody@susmangodfrey.com
        SETH ARD
   12   sard@susmangodfrey.com
        EDWARD DELMAN
   13   edelman@susmangodfrey.com
        SUSMAN GODFREY LLP
   14   1301 Avenue of the Americas, 32nd FL.
        New York, NY 10019
   15   Tel: (212) 336-8330/ Fax: (212) 336-8340

   16   IAN M. GORE
        igore@susmangodfrey.com
   17   SUSMAN GODFREY LLP
        1201 Third Avenue, Suite 3800
   18   Seattle, WA 98101
        Tel: (206) 505-3841/Fax: (206) 516-3883
   19
        MICHAEL D. HAUSFELD
   20   mhausfeld@hausfeld.com
        HAUSFELD LLP
   21   1700 K. Street NW, Suite 650
        Washington, DC 20006
   22   Tel: (202) 540-7200
        Fax: (202) 540-7201
   23

   24   MICHAEL P. LEHMANN
        mlehmann@hausfeld.com
   25   BONNY E. SWEENY
        bsweeney@hausfeld.com
   26   CHRISTOPHER L. LEBSOCK
        clebsock@hausfled.com
   27   HAUSFELD LLP
        600 Montgomery St., Suite 3200
   28   Attorneys for Plaintiffs’ Interim Co-Lead Class Counsel


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    1   DATED: November_16, 2021
    2   s/ Beth A. Wilkinson
        Beth A. Wilkinson
    3   bwilkinson@wilkinsonstekloff.com
        Rakesh Kilaru
    4   rkilaru@wilkinsonstekloff.com
        Brian L. Stekloff
    5   bstekloff@wilkinsonstekloff.com
        Jeremy S. Barber
    6   jbarber@wilkinsonstekloff.com
        WILKINSON STEKLOFF LLP
    7   2001 M Street NW, Suite 10th Floor
        Washington, DC 20036
    8   Telephone: (202) 847-4000
    9   Gregg H. Levy
        glevy@cov.com
   10   Derek Ludwin
        dludwin@cov.com
   11   John Playforth
        jplayforth@cov.com
   12   COVINGTON & BURLING LLP
        850 Tenth Street NW One City Center
   13   Washington, DC 20001-4956
        Telephone: (202) 622-5292
   14   Facsimile: (202) 662-6804
   15   Neema Trivedi Sahni
        nsahni@cov.com
   16   COVINGTON & BURLING LLP
        2029 Century Park East Suite 3100
   17   Los Angeles, CA 90067
        Telephone: (424) 332-4800
   18   Facsimile: (424) 332-4782
   19   Counsel for Defendants National Football League, Inc. and
        NFL Enterprises LLC and the Individual NFL Clubs
   20

   21    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

   22    DATED: 11/16/2021
   23                                              John E. McDermott
                                                   United States Magistrate Judge
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